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              April 8, 2024

              Port Commission
              Oakland, CA

              Dear Port of Oakland Board of Commissioners,

              On behalf of United Airlines, I am wri ng to express our firm opposi on to the proposed name change of
              Oakland Interna onal Airport to San Francisco Bay Oakland Interna onal Airport.

              United Airlines, as you are aware, operates a major hub at San Francisco Interna onal Airport. Our hub
              in San Francisco is a cri cal component of our opera ons, serving as a gateway for countless travelers to
              and from des na ons around the world. Over the years, we have invested significant resources in
              developing and maintaining our presence at San Francisco Interna onal Airport, ensuring that our
              passengers receive the highest level of service and convenience.

              The proposed name change to San Francisco Bay Oakland Interna onal Airport would undoubtedly
              create unnecessary confusion for travelers. While we understand the desire to highlight the airport's
              proximity to the San Francisco Bay, we believe that such a change could lead to misunderstanding among
              passengers, par cularly those who are unfamiliar with the geography of the region. Travelers may
              mistakenly assume that San Francisco Bay Oakland Interna onal Airport is located in San Francisco itself,
              leading to poten al confusion and inconvenience.

              Furthermore, renaming Oakland Interna onal Airport in this manner could dilute the dis nct iden ty
              and brand recogni on that the airport has worked hard to establish over the years. Oakland
              Interna onal Airport serves as an important transporta on hub in its own right, oﬀering convenient
              access to the East Bay region and beyond. We believe that it is essen al to preserve and promote the
              unique iden ty of Oakland Interna onal Airport, rather than subsuming it under the umbrella of San
              Francisco.

              In conclusion, United Airlines respec ully opposes the proposed name change of Oakland Interna onal
              Airport to San Francisco Bay Oakland Interna onal Airport. We urge the Oakland Interna onal Airport
              Authority to reconsider this decision and to maintain the current name of the airport. Doing so will help
              to prevent confusion among travelers and preserve the iden ty of Oakland Interna onal Airport as a
              vital transporta on hub in its own right.

              Thank you for considering our perspec ve on this ma er. We remain commi ed to working
              collabora vely with Oakland leaders the to ensure the con nued success and growth of the airport.


              Sincerely,


              Papia Gambelin
              Managing Director, State & Local West Region
              Government Aﬀairs
              United Airlines
